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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, et al.

                       Plaintiffs,
                                                    Case No. 1:23-cv-10511-WGY
        v.

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.

                       Defendants.


 GABRIEL GARAVANIAN, et al.

                       Plaintiffs,
                                                    Case No. 1:23-cv-10678-WGY
        v.

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.

                       Defendants.


       [PROPOSED] STIPULATED JOINT PROTECTIVE ORDER AND ORDER
          GOVERNING PRODUCTION OF INVESTIGATION MATERIALS

       WHEREAS, the Parties to the Private Action have requested to use Investigation

Materials and Litigation Materials from the Government Action in the Private Action, with all

objections being preserved (ECF No. 76 at 1);

       WHEREAS, the Government does not object to disclosure of Investigation Materials and

Litigation Materials from the Government Action in the Private Action, as long as non -Party

Protected Persons in the Government Action first receive notice and the opportunity to object in

the Private Action and the Investigation Materials and Litigation Materials from the Government


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Action are afforded the same level of protection in the Private Action as in the Government

Action;

       WHEREAS the Parties believe that it would promote efficiency and avoid confusion to

enter this joint protective order in both Actions;

       THEREFORE, subject to approval of the Court, in the interests of (1) ensuring efficient

and prompt resolution of these Actions; (2) facilitating discovery by the Parties litigating these

Actions; and (3) protecting Confidential or Highly Confidential Information from improper

disclosure or use, the Parties stipulate to the provisions set forth below. Unless otherwise

specified, days will be computed according to Federal Rule of Civil Procedure 6(a). The Court,

upon good cause shown and pursuant to Fed. R. Civ. P. 26(c)(1), ORDERS as follows:

       A.      Definitions

       1.      “Actions” mean the Government Action and the Private Action.

       2.      “Competitive Decision-Making” means making, reviewing, participating in, or

being consulted on decisions regarding a firm’s business operations, including development or

implementation of competitive strategies, business plans, and third-party negotiations, but does

not include the rendering of legal advice as to litigation, regulatory compliance, and intellectual

property licensing issues related to such decisions.

       3.      “Confidential Information” means any Investigation Materials or Litigation

Materials that contain trade secret or other confidential research, development, or

commercial information, as such terms are used in Fed. R. Civ. P. 26(c)(l)(G), or any

document, transcript, or other material containing such information that has not been

published or otherwise made publicly available.




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        4.      “Disclosed” means shown, divulged, revealed, produced, described, transmitted

or otherwise communicated, in whole or in part.

        5.      “Divestiture Buyer” means one of the potential buyers, the identities of which are

already known to counsel for the Parties, of any of Defendants’ assets in Boston Logan

International Airport, LaGuardia Airport, Newark Liberty International Airport, and Fort

Lauderdale-Hollywood International Airport.

        6.      “Divestiture Buyers Investigation Materials” means Investigation Materials

provided to any Plaintiff by a Divestiture Buyer.

        7.      “Document” means any document or electronically stored information, as the

term is used in Fed. R. Civ. P. 34(a) and will be interpreted consistent with any Local Rule.

        8.      “Government” means the United States and Plaintiff States.

        9.      “Government Action” means United States, et al. v. JetBlue Airways Corp. and

Spirit Airlines, Inc., Case No. 1:23-cv-10511-WGY (D. Mass.), including any related discovery,

pretrial, trial, post-trial, or appellate proceedings.

        10.     “Government Action Protective Order” means the Stipulated Protective Order and

Order Governing Production of Investigation Materials in the Government Action (ECF No. 66).

        11.     “Highly Confidential Information” means any Investigation Materials or

Litigation Materials, the disclosure of which the Protected Person reasonably believes would

cause substantial injury to current commercial or financial interests of the Protected Person,

including trade secrets; forward-looking financial, marketing, or strategic business planning

information, including forward-looking network plans and budgets, which, if disclosed, could

cause competitive harm or reasonably threaten any party’s commercial interests; current or future




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margin, cost, or pricing information; and current non-public contract terms and sales, marketing,

and negotiation strategies.

          12.    “Investigation” means the pre-complaint review, assessment, or investigation of

the Proposed Transaction, including any defense to any claim that the Proposed Transaction

would violate Section 7 of the Clayton Act. “Investigation” does not include any review,

assessment, or investigation by an agency of the United States other than the U.S. Department of

Justice or any other state entity other than the Offices of the Attorneys General of the Plaintiff

States.

          13.    “Investigation Materials” means non-privileged documents, data, transcripts of

testimony, or other materials created prior to March 7, 2023 that, (a) any non-Party Protected

Person provided to any Party prior to the filing of these Actions, either voluntarily or under

compulsory process, in connection with the Investigation; (b) any Party provided to any non-

Party prior to the filing of these Actions in connection with the Investigation; or (c) any non-

Party Protected Person provided to the United States after the filing of the Government Action in

response to a civil investigative demand, as defined in Antitrust Civil Process Act, 15 U.S.C. §

1312, that was served prior to the filing of the Government Action.

          Notwithstanding the foregoing, the following categories of materials are not Investigation

Materials and nothing in this Order 1 requires their disclosure: (I) documents, data, transcripts of

testimony, or other materials sent or received by any Party (including its counsel) to or from any

potentially or actually retained expert; (II) communications between any Party (including its

counsel) and any (i) executive branch agencies of the federal government, or (ii) news and media



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 The definition of “Investigation Materials” is without prejudice to any position the Parties may take regarding
responsiveness and privilege in connection with the Parties’ requests for document production and any responses
and objections thereto.

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organizations. In addition, for the avoidance of doubt, Plaintiffs need not produce to Defendants

the Investigation Materials that they received from any Defendant directly or indirectly, and

Defendants need not produce to Plaintiffs the Investigation Materials they have previously

produced to any Plaintiff.

       14.     “Litigation Materials” means non-privileged documents, testimony, or other

materials that (a) any non-Party provides to any Party, either voluntarily or under compulsory

process, in connection with and during the pendency of these Actions; (b) any Party provides to

any non-Party in connection with and during the pendency of these Actions; (c) any Defendant

provides to any Plaintiff in connection with and during the pendency of these Actions; or (d) any

Plaintiff provides to any Defendant in connection with and during the pendency of these Actions.

       15.     “Outside Counsel” means the law firm(s) representing a Defendant or Private

Plaintiff in these Actions whose attorneys have filed notices of appearance, including any

attorneys, paralegals, and other professional personnel (including support and IT staff), agents, or

independent contractors retained by the Defendants or Private Plaintiffs that such law firm(s)

assign(s) to these Actions.

       16.     “Outside Divestiture Counsel” means the attorneys and paralegals at any of

Outside Counsel responsible for structuring and/or negotiating the terms of any transaction

between any Defendant and a Divestiture Buyer contemplated as a result of or in connection with

these Actions. For the avoidance of doubt, attorneys and paralegals of Outside Counsel not

responsible for structuring and/or negotiating the terms of such divestiture transaction(s), and

professional personnel (including support and IT staff), agents, or independent contractors

retained by such Outside Counsel, are not Outside Divestiture Counsel.




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        17.     “Party” means any Plaintiff or any Defendant in these Actions. “Parties” means

collectively Plaintiffs and Defendants in these Actions.

        18.     “Person” means any natural person, corporate entity, partnership, association,

joint venture, governmental entity, or trust.

        19.     “Plaintiff States” means the Commonwealth of Massachusetts, District of

Columbia, and States of California, Maryland, New Jersey, New York, North Carolina, and any

other state or territory that joins the Government Action.

        20.     “Private Action” means Garavanian, et al. v. JetBlue Airways Corp. and Spirit

Airlines, Inc., Case No. 1:23-cv-10678-WGY (D. Mass.), including any related discovery,

pretrial, trial, post-trial, or appellate proceedings.

        21.     “Private Plaintiffs” means Plaintiffs in the Private Action.

        22.     “Proposed Transaction” means the proposed acquisition of Spirit Airlines, Inc. by

JetBlue Airways Corporation.

        23.     “Protected Person” means any Person (including a Party) that has provided

Investigation Materials or that provides Litigation Materials.

        B.      Notice to Non-Party Protected Persons of the Terms of This Order

        24.     The Parties hereby agree that, within two business days of the Parties’ submission

of this proposed Order to the Court, the Government and Defendants must send by email a copy

of this proposed Order to each non-Party Protected Person (or, if represented by counsel, the

non-Party Protected Person’s counsel) that provided Investigation Materials to that Party or that

provided or is expected to provide Litigation Materials to that Party. Following entry of this

Order, the Government and Defendants must each confirm to the other Parties that they have

complied with this Paragraph.



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       25.     If a non-Party Protected Person determines that this Order does not adequately

protect its Confidential or Highly Confidential Information, it may, within five business days

after the notice period provided pursuant to Paragraph 24 (i.e., within seven business days of the

Parties’ submission of this proposed Order to the Court), seek additional protection from the

Court for its Confidential or Highly Confidential Information. If a non-Party Protected Person

timely seeks additional protection from the Court, the obligation of a Party to produce to the

Private Plaintiffs that non-Party Protected Person’s documents that are the subject of the motion

is suspended until a decision is rendered by the Court, unless the non -Party who filed the motion

and the Defendants reach an agreement allowing disclosure of the Confidential or Highly

Confidential Information to the Private Plaintiffs while the motion is pending. If the Court orders

the production of the non-Party’s documents, the producing Party will have two business days to

make the production unless a longer period is ordered by the Court.

       C.      Designation of Confidential and Highly Confidential Information in

       Investigation Materials

       26.     All Investigation Materials that the Defendants previously provided to the

Government during the Investigation that the Defendant designated as Confidential or for which

the Defendant requested confidential treatment, including but not limited to testimony,

documents, electronic documents and data, and materials produced pursuant to the Antitrust

Civil Process Act, 15 U.S.C. § 1311-14, or the Hart-Scott-Rodino Antitrust Improvements Act,

15 U.S.C. § 18a, constitute Highly Confidential Information, as defined in Paragraph 11 of this

Order, and each Defendant hereby designates it as such.

       27.     All Investigation Materials previously provided by a non-Party Protected Person

during the Investigation, including but not limited to testimony, documents, electronic



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documents and data, and materials produced pursuant to the Antitrust Civil Process Act, 15

U.S.C. § 1311- 14, constitute Highly Confidential Information, as defined in Paragraph 11 of this

Order, regardless of whether or not the non-party Protected Person requested confidential

treatment at the time of production. In addition, Divestiture Buyers Investigation Materials may

not be disclosed to Outside Divestiture Counsel until two business days after execution of a final

agreement between a Defendant and a Divestiture Buyer who provided Investigation Materials to

any Plaintiff. The fact that an agreement between any Defendant and a Divestiture Buyer is

conditioned or contingent in whole or in part on the closing of the Proposed Transaction will not

cause such agreement to be considered non-final for purposes of this Paragraph.

       D.         Expedited Production of Certain Investigation and Litigation Materials

       28.        The Government has produced Investigation Materials to Defendants, and

Defendants have produced Investigation Materials to the Government, on dates mutually agreed

by the Parties.

       29.        Within two business days after the time for non-Party Protected Person objections

under Paragraph 25 has lapsed, subject to the entry of this Order, Defendants will produce to

Private Plaintiffs (a) Defendants’ Investigation Materials, (b) the Government’s Investigation

Materials previously produced to Defendants, (c) Litigation Materials previously produced by

Defendants or by any non-Party, and (d) any confidentiality designations of any Protected Person

for the foregoing. If any non-Party Protected Person makes an objection pursuant to Paragraph

25, no Investigation Materials or Litigation Materials provided by the objecting non-Party

Protected Person may be produced to Private Plaintiffs until the objection has been resolved

either through agreement or after further order by the Court. For the avoidance of doubt, an




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objection by a non-Party Protected Person will not suspend the time to produce Investigation

Materials or Litigation Materials provided by non-objecting Protected Persons.

       30.     The Parties may agree to a protocol for production of other Litigation Materials

received previously or in the future in the Government Action or the Private Action to be

disclosed in the other action; provided, however, that Litigation Materials produced by a non-

Party Protected Person in the Government Action may not be produced to Private Plaintiffs until

such non-Party Protected Person has received actual notice of the terms of this proposed Order

and has had equivalent opportunity to object as set forth in Paragraph 25, and any objection by

the non-Party Protected Person has been resolved either through agreement or after further order

by the Court, and any confidentiality designations of any Protected Person must be provided

along with any reproduction.

       E.      Designation of Confidential and Highly Confidential Information in

       Litigation Materials

       31.     The following procedures govern the process for Protected Persons to designate

as Confidential or Highly Confidential Information any Litigation Materials, including but not

limited to information provided in response to requests under Fed. R. Civ. P. 30, 31, 33, 36 , and

45, and documents disclosed in response to Fed. R. Civ. P. 33(d), 34(b)(2) and (c), and 45. Any

Protected Person may designate Litigation Materials as Confidential or Highly Confidential

Information if the Protected Person (and counsel, if any) reasonably believes that the Litigation

Materials so designated contain Confidential or Highly Confidential Information.

       32.     Whenever discovery is sought from a non-Party in these Actions, a copy of this

Order must accompany the discovery request or subpoena. To the extent a Party sent a discovery




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request to a non-Party prior to the entry of this Order by the Court, that Party must send a copy

of this Order to the non-Party within two business days of entry of this Order.

       33.     Counsel for the Plaintiffs and Defendants to be notified of confidentiality

designations are as follows:

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       34.     Testimony. When a Party questions a deponent about a document or information

that has been designated by a non-Party Protected Person as containing Confidential or Highly

Confidential Information, the Party asking the questions must designate as Confidential or

Highly Confidential Information, as appropriate, the portion(s) of the transcript relating to that

designated document or information within 21 days following receipt of the final transcript. All

transcripts of depositions taken in these Actions will be treated as Highly Confidential

Information in their entirety for 21 days after the date when a complete and final copy of the

transcript has been made available to the deponent (or the deponent’s counsel, if applicable).
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Within five business days of receipt of the final transcript, the Party who noticed the deposition

must provide the final transcript to the deponent (or the deponent’s counsel, if applicable).

Within 21 days following receipt of the final transcript, the deponent (or the deponent’s counsel,

if applicable) may designate as Confidential or Highly Confidential Information any portion(s) of

the deposition transcript, by page(s) and line(s), and any deposition exhibits, or portion(s) of any

exhibit(s), that were produced by the deponent or the deponent’s employer. To be effective,

designations must be provided in writing to Plaintiffs’ and Defendants’ counsel listed in

Paragraph 33 of this Order. Any portion(s) of the transcript or deposition exhibit(s) not

designated in the manner required by this Paragraph 34 will not be treated as Confidential or

Highly Confidential Information, even if the document(s) that become the deposition exhibit(s)

or information that is the subject of the deposition testimony was subject to a prior designation of

confidentiality.

        35.    Hard-Copy Documents and Electronically Stored Information. A Protected Person

who designates any document that it produces as Litigation Materials in these Actions as

containing Confidential or Highly Information must stamp or otherwise mark each image or page

containing Confidential or Highly Confidential Information with the designation

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” in a manner that will not interfere with

legibility.

        36.    Electronic Documents and Information Produced in Native Form. Where a

Protected Person produces as Litigation Materials in these Actions files in native electronic

format, Confidential or Highly Confidential Information contained in those files must be

designated by the Protected Person for protection under this Order by (a) appending to the file

names or designators associated with the electronic document or information an indication of



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whether the file contains Confidential or Highly Confidential Information or (b) any other

reasonable method for appropriately designating such information produced in native format,

including by making designations in reasonably accessible metadata associated with the files. If

Confidential or Highly Confidential Information subject to this paragraph is produced in

electronic format on a disk or other medium, the “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL” designation may be placed on the disk or other medium. When electronic

files in native form are printed for use during a deposition, in a court proceeding, or for provision

in printed form to any Person described in Paragraph 42, the Party printing the electronic

document or information must affix a “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”

label to the printed version and include with the printed version the production number and

designation associated with the native file.

       37.     All Litigation Materials produced by a Protected Person must be treated as Highly

Confidential Information for ten days after production even if not designated as Confidential or

Highly Confidential Information at the time of production. Any Litigation Materials not

designated as Confidential or Highly Confidential Information will not be deemed a waiver of

any future claim of confidentiality concerning such documents or information if they are later

designated as Confidential or Highly Confidential Information. If at any time prior to the trials of

these Actions, a Protected Person realizes that it should have designated as Confidential or

Highly Confidential Information any Litigation Materials previously produced in these Actions,

it may designate such Litigation Materials by notifying the Parties in writing. The Parties must

thereafter treat the Litigation Materials pursuant to the Protected Person’s new designation under

the terms of this Order.




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       38.     No prior disclosure of newly designated Confidential or Highly Confidential

Information will violate this Order, provided that the prior disclosure occurred more than ten

days after the Litigation Materials were produced without having been designated as

Confidential or Highly Confidential Information. The disclosure of any Investigation Materials

or Litigation Materials for which disclosure was proper when made will not be deemed improper

regardless of any such subsequent confidentiality designation.

       F.      Challenges to Designation of Confidential or Highly Confidential

       Information

       39.     Any Party who objects to any designation of Confidential or Highly Confidential

Information may at any time before the trials of these Actions provide a written notice to the

Protected Person who made the designation and to all Parties identifying the document or data

containing the challenged designation and stating with particularity the grounds for each

objection. All materials objected to must continue to be treated as Confidential or Highly

Confidential Information pending resolution of the dispute either by agreement between the

Protected Person and the objecting Party or by the Court.

       40.     Within five business days of a Party’s written notice made pursuant to Paragraph

39, the objecting Party and Protected Person must meet and confer to attempt to resolve in good

faith the objection(s). If the objecting Party and the Protected Person cannot reach agreement on

an objection to a designation of Confidential or Highly Confidential Information within ten

business days of the Party’s written notice, the Protected Person may address the dispute to this

Court by following the procedures set forth in this Court’s Local Rule 37.1. The Protected

Person bears the burden of persuading the Court that the material is Confidential or Highly

Confidential Information. If the Protected Person fails to move the Court in accordance with this



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Paragraph 40, or if the Court finds the designation of Confidential or Highly Confidential

Information to have been inappropriate, the Court may rescind the designation entirely or change

the designation from Highly Confidential Information to Confidential Information.

       41.     This Order does not preclude or prejudice a Protected Person or an objecting

Party from arguing for or against any confidentiality designation, establish any presumption that

a particular confidentiality designation is valid, or alter the burden that would otherwise apply in

a dispute over discovery or disclosure of information.

       G.      Disclosure of Confidential or Highly Confidential Information

       42.     Unless otherwise ordered by the Court or agreed to in writing by the Protected

Person producing such information, and except as specifically provided in Paragraph 27 with

respect to Divestiture Buyers Investigation Materials, Confidential Information may be disclosed

only to the Persons listed in (a)-(k) below, and Highly Confidential Information may be disclosed

only to Persons listed in (a)-(j) below:

               (a) the Court and all persons assisting the Court in these Actions, including law

clerks, court reporters, and stenographic or clerical personnel;

               (b) counsel for the Government, including any attorneys, paralegals, other

professional personnel (including support and IT staff), and agents or independent contractors

retained by the Government to assist in the Government Action whose functions require access

to the information;

               (c) Private Plaintiffs’ or Defendants’ Outside Counsel;

               (d) outside vendors or service providers (such as copy -service providers and

document-management consultants) retained by a Party to assist that Party in these Actions,

provided that they first execute an Agreement Concerning Confidentiality in the form attached in


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Appendix A;

               (e) any mediator or arbitrator that the Parties engage in these Actions or that this

Court appoints;

               (f) any author, addressee, or recipient of any document or information containing

Confidential or Highly Confidential Information if they previously had lawful access to the

document or information;

               (g) during the course of their depositions, to anyone who is either (1) a current

employee of the Protected Person that designated the document or information Confidential or

Highly Confidential Information; or (2) a former employee of the Protected Person that

designated the document or information as Confidential or Highly Confidential Information

provided that they were employed by the Protected Person when the document or information

was created and have been provided with a copy of this Order and informed of the obligation not

to disclose any information from any Confidential or Highly Confidential Information to Persons

other than those specifically authorized by this Order;

               (h) any Person whom counsel for any Party believes in good faith previously

received or had access to the document or information, unless the person indicates that he or she

did not receive or have previous access to the document or information;

               (i) any Person retained by a Party to serve as a testifying or consulting expert in

these Actions, including employees of the firm with which the expert or consultant is associated

or independent contractors who assist the expert's work in these Actions, provided that they first

execute an Agreement Concerning Confidentiality in the form attached in Appendix A; and

               (j) outside trial consultants (including, but not limited to, graphics consultants)

retained by a Party to assist that Party in these Actions, provided that they first execute an



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Agreement Concerning Confidentiality in the form attached in Appendix A.

               (k) one in-house attorney for each Defendant (the “Designated Attorney(s)”),

whose name must be disclosed to Plaintiffs at least five business days prior to provision of any

Confidential Information to the Designated Attorney and who must be agreed upon by the Parties

or (in the absence of agreement) ordered by the Court. The Designated Attorney(s) may not have

a non-legal business role and may not be engaged in Competitive Decision-Making. Before

receiving access to Confidential Information, a Designated Attorney must (i) file an affidavit or

declaration, in the form of Appendix B attached hereto, certifying that the Designated Attorney

does not have a non-legal business role and does not participate in Competitive Decision-Making

for Designated Attorney’s employer, and agreeing that Designated Attorney will not participate

in negotiations of commercial agreements between Designated Attorney’s employer and any non-

Party Protected Person whose Confidential Information is disclosed to the Designated Attorney

during the pendency of these Actions (including appeals) and for six months thereafter unless the

non-Party Protected Person provides written consent to such participation after having been

informed of the Designated Attorney’s access to the non-Party Protected Person’s Confidential

Information, and (ii) have signed the Agreement Concerning Confidentiality in the form of

Appendix A of this Order. In the event that a Designated Attorney acquires a non -legal business

role, the Designated Attorney may no longer have access to any Confidential Information. To the

extent a Defendant seeks to change a Designated Attorney, the Defendant must provide notice to

Plaintiffs at least 10 business days before any Confidential Information is provided to the new

Designated Attorney, and the new Designated Attorney must file an affidavit or declaration and

sign the agreement in Appendix A, consistent with subparts (i) and (ii) in this Paragraph 42(k).

For the avoidance of doubt, Highly Confidential Information may not be disclosed to a



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Designated Attorney.

       43.      Counsel for the Party making a disclosure to a Person identified in Paragraph 42,

subparagraphs (d), (i), (j), or (k) of this Order must obtain and retain the signed version of the

Agreement Concerning Confidentiality in the form attached in Appendix A for a period of at least

one year following the final resolution of these Actions.

       44.      Each Person identified in Paragraph 42 of this Order to whom information

designated as Confidential or Highly Confidential Information is disclosed may not disclose that

Confidential or Highly Confidential Information to any other Person, except as otherwise

provided by this Order.

       45.      Nothing in this Order:

                (a) limits a Protected Person’s use or disclosure of its own information designated

as Confidential or Highly Confidential Information;

                (b) prevents disclosure of Confidential or Highly Confidential Information with

the consent of the Protected Person that designated the material as Confidential or Highly

Confidential;

                (c) prevents disclosure of Confidential or Highly Confidential Information by any

party or any current employee or corporate representative of the Protected Party that designated

the Confidential or Highly Confidential Information;

                (d) prevents disclosure by a Party of Confidential or Highly Confidential

Information (i) that is or has become publicly known through no fault of that Party; (ii) lawfully

acquired by or known to that Party independent of receipt during the Investigation or in post-

complaint discovery in these Actions; (iii) previously produced, disclosed, or provided to that

Party without an obligation of confidentiality and not by inadvertence or mistake; or (iv) pursuant



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to a court order; or

               (e) prevents Plaintiff United States of America or Plaintiff States, subject to taking

appropriate steps to preserve the confidentiality of such information, from disclosing Litigation

Materials designated as Confidential or Highly Confidential (i) in the course of any other legal

proceeding in which it is a party, or (ii) for law enforcement purposes, to the extent permitted by

law. Except when used for law enforcement purposes or where prohibited by law, court order or

regulation, Plaintiff United States of America or Plaintiff States shall inform the producing party

or non-Party Protected Person who designated the material as Confidential or Highly Confidential

at least ten (10) business days before disclosure is made if the United States or Plaintiff State

intends to make disclosure pursuant to this Paragraph.

       46.     In the event of a disclosure of any Confidential or Highly Confidential

Information to any Person not authorized to receive disclosure under this Order, the Party

responsible for having made the disclosure must promptly notify the Protected Person whose

material has been disclosed and provide to that Protected Person all known relevant information

concerning the nature and circumstances of the disclosure. The disclosing Party must also

promptly take all reasonable measures to retrieve the improperly disclosed material and ensure

that no further or greater unauthorized disclosure or use of the material is made. Unauthorized or

inadvertent disclosure of Confidential or Highly Confidential Information will not change the

confidential status of any disclosed material or waive the right to maintain the disclosed material

as containing Confidential or Highly Confidential Information.

       H.      Use of Information Designated Confidential or Highly Confidential

       Information in These Actions




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       47.     Except as provided in Paragraph 45 of this Order, all Investigation Materials and

Litigation Materials produced by a Party or a non-Party Protected Person as part of these Actions

may be used solely for the conduct of these Actions and may not be used for any business,

commercial, competitive, personal, or other purpose.

       48.     Court Filings. If any documents, testimony, or other materials designated under

this Order as Confidential or Highly Confidential Information are included in any pleading,

motion, exhibit, or other paper to be filed with the Court, the Party seeking to file must obtain a

Court order to file such Confidential or Highly Confidential Information under seal, in

accordance with Local Rule 7.2. A request for the Court to allow filing under seal must include

the proposed redactions. If this Court grants leave to file a document under seal, the filing Party

must file with the Clerk of this Court a redacted version of the filing. Nothing in this Order will

restrict the Parties or any interested member of the public from challenging the filing of any

Confidential or Highly Confidential Information under seal.

       49.     Trial. Disclosure at trial of documents and information designated as Confidential

or Highly Confidential Information will be governed pursuant to a separate Court order. The

Parties will meet and confer and submit a recommended order outlining those procedures.

       I.      Procedures Upon Termination of These Actions

       50.     The obligations imposed by this Order will survive the termination of these

Actions unless the Court, which will retain jurisdiction to resolve any disputes arising out of this

Order, orders otherwise.

       51.     Except as otherwise provided in this Paragraph and in Paragraph 45 of this Order,

within 90 calendar days after the expiration of the time for appeal of an order, judgment, or

decree terminating either the Government Action or the Private Action, all Persons having



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received information designated as Confidential or Highly Confidential Information in that

action must make a reasonable, good-faith effort to either (a) return that material and all copies

to the Protected Person (or the Protected Person’s counsel, if represented by counsel) that

produced it or (b) destroy or delete all such Confidential or Highly Confidential Information,

unless such Persons also received such information in the other action and the time period in this

Paragraph 51 has not expired in the other action. All Confidential or Highly Confidential

Information returned to the Parties or their counsel by the Court also must be disposed of in

accordance with this Paragraph 51. Counsel for the Parties will be entitled to retain court papers;

deposition, hearing, and trial transcripts; deposition, hearing, and trial exhibits; and work

product, provided that the Parties and their counsel do not disclose the portions of those materials

containing information designated as Confidential or Highly Confidential Information except

pursuant to Court order or an agreement with the Protected Person that produced the Confidential

or Highly Confidential Information or as otherwise permitted by this Order.

       52.      Within 90 days after the expiration of the time for appeal of an order, judgment,

or decree terminating either the Government Action or the Private Action, all Persons having

received information designated as Confidential or Highly Confidential Information in that

action must certify compliance with Paragraph 51 of this Order in writing to the Party or

Protected Person that produced the Confidential or Highly Confidential Information.

       J.      Right to Seek Modification

       53.     Nothing in this Order limits any Person, including members of the public, a Party,

or a Protected Person, from seeking further or additional protections for any of its materials or

modification of this Order upon motion duly made pursuant to the Rules of this Court, including,




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without limitation, an order that certain materials not be produced at all or are not admissible

evidence in these Actions or in any other proceeding.

       K.        The Privacy Act

       54.       Any order of this Court requiring the production of any document, information, or

transcript of testimony constitutes a court order within the meaning of the Privacy Act, 5 U.S.C.

§ 552a(b)(11).

       L.        Persons Bound by This Order

       55.       This Order is binding on the Parties to these Actions, and their attorneys,

successors, personal representatives, administrators, assigns, parents, subsidiaries, divisions,

affiliates, employees, agents, retained consultants and experts, and any persons or organizations

over which the Parties have control.

       M.        Inadvertent Production of Privileged Information

       56.       Under Federal Rule of Evidence 502(d), the production of any Investigation

Materials or Litigation Materials subject to attorney-client privilege, work-product protection, or

other applicable legal or evidentiary privilege (“Produced Privileged Material”) is not a waiver in

the pending case or in any other federal or state proceeding, provided that (a) the production was

inadvertent; (b) the Party producing the Produced Privileged Material used reasonable efforts to

prevent the disclosure of Investigation Materials or Litigation Materials protected by the

attorney-client privilege, work-product immunity, or any other privilege or immunity; and (c) the

Party producing the Produced Privileged Material promptly took reasonable steps to rectify the

error, including following Federal Rule of Civil Procedure 26(b)(5)(B). For the avoidance of

doubt, the fact that Investigation Materials or Litigation Materials were produced using

technology-assisted review or were otherwise produced without first being reviewed by an



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attorney does not mean that the Protected Person did not use reasonable efforts to prevent the

inadvertent disclosure of Produced Privileged Material.

       57.     A Protected Person claiming inadvertent production of Produced Privileged

Material must first make a good-faith determination that such materials are privileged or

otherwise protected from disclosure under applicable law and rules. They must then promptly

notify any and all receiving Parties providing sufficient information to the receiving Party

regarding the asserted privileges in the form of a privilege log as outlined in Rule 26(b)(5) of the

Federal Rules of Civil Procedure. Conversely, if a receiving Party discovers material that it

believes to be Produced Privileged Material, the receiving Party will promptly notify the

Protected Party of what it believes to be the Produced Privileged Material; however, no receiving

Party will be found in violation of this Order for failing to recognize Produced Privileged

Material.

       58.     After discovering or being notified of a claim that material is Produced Privileged

Material, any receiving Party may not use or disclose the claimed inadvertently Produced

Privileged Material in any way until the claim is resolved, and must take reasonable steps to

retrieve the material if the receiving Party disclosed it before being notified of or discovering the

inadvertent production. The receiving Party may use the claimed inadvertently Produced

Privileged Material only as permitted by Rule 26(b)(5) of the Federal Rules of Civil Procedure.

In addition, within ten business days of discovering or being notified of Produced Privileged

Material, any receiving Party must return, sequester, or destroy the specified material and any

copies. The Protected Person must retain a copy of all Produced Privileged Material until the

resolution or termination of these Actions. The Protected Person asserting the privilege bears the

burden of establishing the claim.



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       N.      Prior Protective Orders Superseded

       59.     This Order supersedes the Stipulated Protective Order and Order Governing

Production of Investigation Materials in the Government Action (ECF No. 66).

       60.     This Order supersedes the Protective Order in the Private Action (ECF No. 34),

which was previously entered by the Northern District of California as an interim measure “until

the District of Massachusetts enters a protective order governing [the Private Action].” Private

Action, ECF No. 35, ¶ 4.c.



AGREED TO:

Dated: May 26, 2023

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Attorneys for Defendant Spirit Airlines, Inc.




SO ORDERED:
Dated this ____ day of ____________, 2023




                                                     ___________________________________
                                                     WILLIAM G. YOUNG
                                                     UNITED STATES DISTRICT JUDGE




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                                        APPENDIX A

                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA, et al.

                         Plaintiffs,
                                                    Case No. 1:23-cv-10511-WGY
       v.

JETBLUE AIRWAYS CORPORATION and
SPIRIT AIRLINES, INC.

                         Defendants.


GABRIEL GARAVANIAN, et al.

                         Plaintiffs,
                                                    Case No. 1:23-cv-10678-WGY
       v.

JETBLUE AIRWAYS CORPORATION and
SPIRIT AIRLINES, INC.

                         Defendants.


                  AGREEMENT CONCERNING CONFIDENTIALITY

       I,                     am employed by                  as                             .

I hereby certify that:

       1.       I have read the Protective Order entered in the above-captioned actions, and
understand its terms.

       2.      I agree to be bound by the terms of the Protective Order entered in the
above-captioned actions. I agree to use the information provided to me only as explicitly
provided in this Protective Order.

       3.       I understand that my failure to abide by the terms of the Protective Order
entered in the above-captioned action will subject me, without limitation, to civil and criminal

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penalties for contempt of Court.

        4.      I submit to the jurisdiction of the United States District Court for the District o f
Massachusetts solely for the purpose of enforcing the terms of the Protective Order entered in
the above-captioned action and freely and knowingly waive any right I may otherwise have to
object to the jurisdiction of said Court.



______________________________________                   ___________________________
SIGNATURE                                                DATE




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                                         APPENDIX B

                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, et al.

                          Plaintiffs,
                                                    Case No. 1:23-cv-10511-WGY
        v.

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.

                          Defendants.


 GABRIEL GARAVANIAN, et al.

                          Plaintiffs,
                                                    Case No. 1:23-cv-10678-WGY
        v.

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.

                          Defendants.


DECLARATION OF IN-HOUSE COUNSEL SERVING AS DESIGNATED ATTORNEY

       I, _______________, am employed by ________________ as __________________.

 I hereby certify that:

       1.      I am in-house counsel for Defendant __________ who qualifies for access to

Confidential Information under paragraph 42(k) of the Protective Order. I represent to the Court

that I do not have a non-legal business role and do not participate in Competitive Decision-

Making as defined in paragraph 2 of the Protective Order, for my employer, ____________.



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       2.      I agree not to participate in negotiations of commercial agreements between my

employer, ____________, and any non-Party Protected Person whose Confidential Information

is disclosed to me during the pendency of these Actions (including appeals) and for six months

thereafter, unless the non-Party Protected Person provides written consent to such participation

after having been informed of my access to the non-Party Protected Person’s Confidential

Information.

        3.      I make this declaration this ______ day of March, 2023.




                                                    ___________________________________
                                                    SIGNATURE

                                                    ___________________________________
                                                    DATE




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